Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 1 of 17 PageID #:2205
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 2 of 17 PageID #:2206
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 3 of 17 PageID #:2207
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 4 of 17 PageID #:2208
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 5 of 17 PageID #:2209
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 6 of 17 PageID #:2210
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 7 of 17 PageID #:2211
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 8 of 17 PageID #:2212
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 9 of 17 PageID #:2213
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 10 of 17 PageID #:2214
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 11 of 17 PageID #:2215
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 12 of 17 PageID #:2216
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 13 of 17 PageID #:2217
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 14 of 17 PageID #:2218
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 15 of 17 PageID #:2219
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 16 of 17 PageID #:2220
Case: 1:01-cr-00348 Document #: 365 Filed: 11/13/02 Page 17 of 17 PageID #:2221
